In The Matter Of:
Hayden vy.
Butler

Stevens, Ms. Mary
August 28, 2014

Pace Reporting Service, Inc.
PO Box 252
Cary, NC 27512
919-859-0000

Original File Stevens 8-28-14.prn
Min-U-Script® with Word Index

23

24

Stevens Direct

sense?

It does.

Okay. Are you under the influence of any drugs or
medication today?

No.

Is there any reason that you know of why you can't
participate in this deposition?

No.

Okay. Then--also, just to state, we understand
that you've been produced pursuant to Rule 30(b) (6)
and that you represent the Parole Commission. Is
that how you understand it?

Yes.

Okay. Thanks. So what is your position with the
Parole Commission?

I am the chief administrator.

And how long have you been in that capacity?

I've been performing my current job duties since
January of 2010. The actual title, it was under--
the original title was administrative officer. But
our department's personnel reclassified my position
in May of 2013 and gave me the working title of
chief administrator.

Did you work at the Parole Commission before

Stevens Direct

Eighty--1983.

How is the Parole Commission organized today?

We have four commissioners, one being the chairman.
And then I am underneath the chairman.

Okay.

And then the staff, we have them divided. We have
a staff psychologist who reports directly to the
chairman. The chairman has a confidential
secretary that reports directly to him. Who
reports to me are two lead parole case analysts.
They are the supervisors of the parole case
analysts. I have reporting to me a--the rest of
the support staff report to me. And that would be
an administrative assistant, three Office Assistant
V positions. We have two women that share the
telephone receptionist position. We have three
processing assistants. Two word processor
positions report to me. And one of the parole case
ana--two parole case analysts report to me.

They're in specialized positions. One handles the
misdemeanor driving while impaired population, and
the other is a contract position. It's a part-time
position.

How many people total work in the Parole

Stevens Direct

14

the manual?

The manual is the--the best--outlines our work
practices.

Uh-huh (yes). And you don't keep it anywhere else,
that information, your work practices?

Well, when I'm training analysts, we have training
manuals that have examples that I would pull out,
and we would go over those cases. We learn here by
teaching. We would have that.

Anything else?

They've been--I don't know that they have a
complete amount, but we--I have had the staff print
them--the e-mails since I've been the
administrative officer. I keep finding some that
they've missed. But they have tried to put the new
analysts I'm training a book together of that.
Anything else you can think of?

I don't think so.

Who is the administrative officer? You mentioned
that person.

They 're--they're--they changed my--the--they
reclassified. Yes. Uh-huh (yes).

So do you still oversee the special programs?

Yes. A special program could be our dri--through

Stevens Direct

0 > 3 - 20 >

21

call the--a MAPP investigation, Mutual Agreement
Parole Program. Or incomplete could be when
they're asking for Dr. Lewandowski to do a
psychological evaluation. They're basically asking
for some type of gathering of information. And--
and so that's the difference in them. And then
after that investigation is completed or the
information they've sought has been obtained, then
the analyst will re-present the case in another
review to the Commission for their decision.

What about a DWI coordinator? Is that a position
still?

Yes. Well, it's been reclassified to a DWI parole
case analyst.

How do you--

Technically does the same job; it's just--

Let me back up for a second. How many parole case
analysts do you have right now?

Sixteen.

And how many DWI parole analysts do you have?

One.

Is that one of the sixteen?

Yes.

So there's seventeen--

23

24

Stevens Direct

41

and commitment or something and tell the analyst
that there's been an amended--the computer record
will show what has changed.
Uh-huh (yes). And when--how does a parole case
analyst work a case that's eligible for parole? So
say it's a case review. What does the parole case
analyst do?
The analyst will--
I'm talking about a Parole Case Analyst II.
The analyst--the first time the offender comes up
for review--the earliest is sixty days before the
parole eligibility date or it could be at the
parole eligibility. We had a chairman that only
wanted to see them at the parole eligibility date.
But they--the analyst will basically research the
record. They will review computer records and the
inmate file that we see in OmniDocs and will write
up a review in the computer system, a written
review, using specific criteria that the Commission
has said they want to know about a case.

They will write a written case
presentation that we call parole reviews to the
Commission, and they would make a recommendation in

the review on what their recommendation is.

23

24

Stevens Direct

FP WO PrP OO Pr oO PY

50

investigation only?

Yes.

And the victim gets it at every single review--
Yes.

--before the review?

Any active victim, yes, since December 2012.

How does a victim become an active victim?

They have sent a written request to be registered
with the department as a victim. And when I
mentioned--there are some--we have entered some
sheriffs in the system based on prior instructions
of a prior chairman. Chairman Mann instructed
analysts to do that.

Do--does a parole case analyst ever investigate a
release plan if there hasn't been an investigation?
No.

And how exactly does it come to be that a case is
being investigated for parole?

The commissioners must by majority vote vote to
investigate for parole.

Do commissioners ever vote to grant parole without
an investigation?

They do on the misdemeanor DWI population that's

being paroled to a treatment--to the treatment

Stevens Direct

28

regular rules that a state worker might, meaning
the person is hired at the--the chairman hires that
position. And if the chairman leaves, that
position doesn't have the same state rights to
employment.

Okay. Are there any other positions in the office
that we haven't talked about?

I don't think so.

Back to the parole analyst. I'm wondering what
their caseload looks like, like the volume of work
that they have. So if you could tell me about the
number of parole-eligible inmates they have, the
number of--and the other types of work that they do
‘cause I know that there's a lot of different
things that they also do.

I can't divide it up between parole or post-
release. I can give you a figure on their
caseload, their number.

Okay.

The Parole Case Analyst IIs that have the--that can
handle anything--

Yeah.

--their caseloads right now are around four

thousand three hundred and thirty-eight each--each

23

24

Stevens Direct

29

except for the part-time. He--he handles--he
works--he has a thousand cases less than that
because he works about--he works seventy-five
percent of their time. So he's got seventy-five
percent of the caseload. The DWI parole case
analyst has eight hundred and fifty cases. Her
caseload will probably go up since they're putting
female DWIs with her now. And I have no idea what
it would go up to.

The Parole Case Analyst Is that handle
what I said the JRA caseload, they have about a
thousand seven hundred cases each. We have one--
one of the analysts that's one of the Parole Case
Analyst IIs is one of the recent positions hired,
and they have half of a caseload. One of the other
supervisors has the other half of the four thousand
three hundred. So they have--they have about two
thousand one hundred cases. We're going to
transfer the rest of that supervisor's caseload
into them within the next thirty days.
Okay.
The--the analysts being trained, we're training
them--they have twenty-five cases or less--up to

twenty-five cases. We don't give them a caseload

23

24

Stevens Direct

34

Figuring out the eligibility date and--

And they would enter that information on the
computer in an event we call eligibility
certification. They would explain the eligibility.
And the computer should match the eligibility. If
it doesn't, they have to bring it to me.

What's the volume of work that the psychologist
has?

I don't know the answer to that. There probably at
any time are more mental health aftercare reque--
that's what we call it--requests, memos that he has
to do versus psychological evaluations. But how
many he has pending in either category I don't
know. I think he also in early medical release
will--he is involved in--when they are looking--
when prisons is looking at those cases, he may go
out to a prison facility with a prison staff person
to interview the inmate. So, I mean, that's--but
how many he does I don't know.

What are the job qualifications for a parole
analyst?

For the Parole Case Analyst I level, it's--it's
written that they have a four-year college degree

plus three years work experience in probation/

Stevens Direct

35

parole or in criminal--in a criminal justice field
with knowledge of sentencing laws and statutes or a
combination of education and work experience. We
have to write that in job descriptions. Could be a
combination. The Parole Case Analyst II has the
game qualifications except the work experience is
five years. And the Parole Case Analyst III is the
same qualifications with the work experience being
six years.

Who participates in the hiring process?

I--one of the lead parole case analysts could be
involved or a commissioner could be involved or
form--we have had a former parole case analyst
involved in the interview process. The chairman is
the hiring authority, so it's his decision. And
the administrative assistant as I said does the
paperwork. And I'm generally the--I can serve on
the interview team or I have--I generally do the
questions, and we do a writing test. I prepare all
that and the--how you score it, how we score.

Does the chairman sit in on interviews then?

No. As hiring authority, he's--the department does
not want them to be a part of the interview team.

So it would be--generally it's a commissioner and

23

24

Stevens Direct

36

me or a lead parole case analyst. We have had--
someone in community supervision has sat in on past
interviews also. One of their--one of their
directors has done it. Usually the panel is either
two or three people sitting on the interview team.
And you've talked a little bit about training, but
now I'm going to ask you about training that you
give to parole case analysts. How--how do you
begin the training process for a new hire?

The--we have--the parole case analyst begins their
training as an in-house training, but they also are
required to do training that the department
requires of state employees. So it could be--it
varies per person depending on their work
experience on what they would need department-wise.
I mean, the department has certain classes they
require of any employee depending on where you come
from. JI mean, it could be something like ethics
training or it could be something as simple--
recently we had to do training of how to use our
new telephone system. I mean, it could be going to
a class somewhere or it could be a training module
or just--you do them over the computer.

The in-house training for analysts that I

Stevens Direct

37

am--the two lead parole case analysts would
participate in some of the training is--generally
it takes four to six months to train an analyst to
assume a caseload, four months if you're assuming
the JRA caseload, the Parole Case Analyst I
caseload. But for the Parole Case Analyst II
position, it's generally a six-month training.
What are they doing during those four--let's talk
about Parole Case Analyst II. What are they doing
for those six months while they're being trained?
Well, you first--the first training is explaining
to them the history of the Parole Commission, the
organization structure or how--how--in general
the--how business is done. And we--post--post-
release is probably the first--is the easiest type
of release that's--that we do, and so we spend a
long time on that because that's a big part of the
inmate caseload, the inmates in prison right now.
And we just--they learn how to handle a case from
it being a new admission all the way through
release. We're basically using the manual as the--
to get the outline, and then we use examples--I use
examples to show them how to do it. And then they

practice, and--and I or one of the supervisors have

Stevens Direct

65

Yes. And combined records also enters the length
on the computer. They can see it on a computer
screen also, because you need that length to
calculate release dates of inmates or parole
eligibility dates.

Is that the same for the crime, the conviction and
the date of admission? Does that come from
combined records?

The date of admission is probably entered by the
diagnostic center when someone comes to prison.
That's probably where that information comes from.
It's a movement in the prison, so that's where the
date comes from.

And the crime, the conviction comes from combined
records?

I believe that a prison unit will originally enter
some of the prison information from the judgment
and commitment, 'cause the judgment and commitment
comes with the inmate to the prison facility. I
don't know who at the prison unit enters it. I
don't know their title. Combined records audits
the information, meaning they may change it or
leave it as-is. But they are looking to make--and

they're looking to make it correct.

23

24

Stevens Direct

70

center, like what their level is when they come in.
So most of the information that a parole case
analyst is pulling comes from these--these prison
screens?

Yes.

They're kind of just summarizing it and bringing it
all together?

Yes. And there--I mean, there can be--there are
analysts--also there are probation screens that
they--if someone has a probation history--they
might not can see everything. They can't see the
narratives of what maybe an officer said about the
case as they were supervising them. But they can
see if they still are on probation or if--what
their violations were when they were on probation.
They can see things like that.

Yeah.

So they are reviewing probation screens too.

Okay. Probation screens and prison screens.

And prison screens.

Does probation use the same computer system?

Yes. Every--it's OPUS--the whole department uses
OPUS for offenders.

And the thing about OPUS is--well--

Stevens Direct

86

And a little above that where it says "Parole
denied," next to it is the name of two--two people.
The--those are commissioners. I don't know if they
are the commissioners who voted or they are the
commissioners whose names the computer picked to
vote. I don't know which.

What's the difference?

It could be different--I mean, the computer will
pick--the analyst, when they're presenting it,
they'll hit a button, and it picks commissioners to
vote. The commissioners have for many years agreed
they would vote for each other. And so depending
on who's here, that's what our Office Assistant Vs
do. They move the files--just a very small file
just so the commissioners know they need to vote.
And they will vote. So I--

Now, how many total people--commissioners vote on
each case?

It's always been--the law requires by majority. So
there have been times when the Commission--there
were only three commissioners, so you're going to
see two out of three votes. Currently there are
four commissioners, so it requires three out of

four votes.

23

24

Stevens Direct

104

They have to work here--they have to work in
Raleigh here in the office. They vote through a
computer here. They work--they--Monday through
Friday, anytime between seven-thirty and six
they'1l--one or two of them will be here. They are
on call after hours also and on weekends in case--
they have to be available in case offenders that
are on supervision violate. Officers call them for
emergency warrant requests. But we don't--they
don't work from their home in other words or--or--
But do they--do they work a full-time schedule?
Yes. They were--the commissioners were part-time--
I don't remember if it was 2013 or '12 they became
full-time. I want to say it was 2012. The
legislature changed the positions back to full-time
positions. Even though one of them worked here
full-time, he was only paid as a part-time
commissioner.

Okay. And what are their tasks while they're in
the office?

They monitor the computer. They are voting both on
cases that analysts are presenting to them for
decisions, and they're also looking at the

violations screen, where officers are reporting

23

24

Stevens Direct

105

violation or noncompliance or requests for
modifications to them on that computer. And our
support staff are watching the computer, not the
analyst side but the violations side, and they have
to help them activate decisions. The commissioners
want their violations handled before they leave
each day. So there--

What do they have to do with violations?

They read what--the report that the officer is
saying what's going on. And the officer's making a
recommendation if they want the Commission to
change a supervision condition or if they want a
warrant. And the commissioners agree--just like
with analysts--may agree or disagree or they'll
write out what their vote is.

Do you have any idea what their volume of work is
in a given day?

At any given time they could have a hundred cases
in front of the Commission from the analysts. The
violation screen vary. Usually late Friday
afternoon they get a lot of requests for warrants.
But, I mean, it's a constant during the day. As
far as the number, the--this--our chairman keeps up

with some statistics. And like as of this week,

23

24

Stevens Direct

106

the analysts have--the Commission has voted on the
analyst cases. I think it was like fifteen
thousand two hundred and some cases that they've
reviewed and voted on in some way this year. So
it's running at least two thousand a month of cases
they're voting from analysts.

And that's not the other work they do.
They're--they also on Tuesdays have the meetings.
Wednesday they do vi--violation hearings by
videoconference. They used to go to Central Prison
and hold those. They're not every case that's in
violation. It's just the ones where the offender
has asked for a commissioner to hear their
violation is the ones that appear over the
videoconference. And they are--they probably are
about thirteen a week of those. Some weeks it got
pretty bad. There was--like morning and afternoon,
there was like twenty-six in a day. And I think
the commissioners split. One did the morning, and
one did the afternoon.

But it--they're seeing this because of
justice reinvestment. ‘They can't--they have to
sometimes revoke people in partial amounts, like

ninety days instead of--it doesn't affect the old--

Stevens Direct

109

routing slip on it and maybe something--the
judgment and commitment might be made a copy of and
sent to the commissioners so they would know that
this is their case to vote on, 'cause there will be
a hundred cases maybe on the computer, but they
need to know which ones they need to vote on.
Uh-huh (yes). Do they dedicate certain days to
voting on--on parole, or do they just do it in
between all the--the schedule that you mentioned?
They're voting all during the day. They don't say
"I'm just going to vote on parole today." They--
anything the analyst sends them they will vote.
They'1ll--they get that--so they might vote on a
parole case, and the next case is a post-release,
and the next case is a DWI. It doesn't matter to
them.

Uh-huh (yes). And how long does it take?

It varies. I mean, a DWI that doesn't have enough
time, it's just simply them reading it and hitting
the button, because there's not another choice if
you don't have time to go. A parole case may--some
they just leave on their desk and think about it.

I mean, they--some they might get up and go talk.

I mean, they don't--parole cases probably would

23

24

Stevens Direct

111

They depend on the parole case--that's--they want
the parole case analyst to--to bring the case to
their attention and to--if they--they don't have
the information they need--maybe they read
something and it stirs--they want some more
information about that issue. They'll tell the
analyst, and the analyst will go get the
information for them.

Do the parole commissioners have access to OmniDocs
to like look at the whole file?

They do. They don't necess--they don't necessarily
want to go in and do that because some of the
records are huge. I mean, they vary in length.

But they do have access. They can click a button--
the computer people have designed where they can
click a button and it takes them to the inmate
file. So they can look up something if they choose
to.

Do they do anything differently when they're
considering someone who was a juvenile when they
committed their crime?

They--they don't use any different process, no.

All right. You said that the confidential

secretary took daily statistical reports.

STATE OF NORTH CAROLINA 120
COUNTY OF WAKE
CERTIFICATE

I, Brandy Anderson Sadler, a Notary Public in and for
the State of North Carolina, duly commissioned and
authorized to administer oaths and to take and certify
depositions, do hereby certify that on August 28, 2014,
MARY STEVENS, being by me duly sworn to tell the truth,
thereupon testified as above set forth as found in the
preceding 119 pages, her examination being reported by me
verbatim and then reduced to typewritten form under my
direct supervision; that the foregoing is a true and
correct transcript of said proceedings to the best of my
ability and understanding; that I am not related to any of
the parties to this action; that I am not interested in the
outcome of this case; that I am not of counsel nor in the
employ of any of the parties to this action, and that
Signature of the witness was waived.

IN WITNESS WHEREOF, I have hereto set my hand, this
the 19th day of September 2014.

Notary Public
Notary No. 20010500227

Brandy Anderson Sadler

PACE REPORTING SERVICE

P, 0. Box 252

Cary, North Carolina 27512

Telephone: 919/859-0000 - Raleigh
910/433-2926 - Fayetteville
910/790-5599 - Wilmington

Stevens -i-

EXAMINATION INDEX

Examination By Whom Page No.

